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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

   In re: Dawn Johnson            :        Chapter 13
                                           :
                                           :
                          Debtors          :      Bankruptcy No.: 18-13707\elf


                          OBJECTION TO PROOF OF CLAIM

   1.       Debtors commenced this action on September 8, 2018, by filing a voluntary petition
   for relief under Chapter 13 of Title 11 of the United States Code.


   2.      On or about August 9, 2018, Wilmington Savings Fund Society (hereinafter
   “Respondent”) filed a Proof of Claim for pre-petition arrears in the amount of $22,323.21
   Said Proof of Claim includes Principal & interest due, prepetition fees due, escrow deficiency
   for funds advanced & projected escrow shortage in the aforesaid amount. Attached hereto
   and marked as “Exhibit A” is a photocopy of said Proof of Claim.

   3.      The pre-petition arrears attached to aforesaid Proof of Claim are inaccurate and do not
   give proper credit to all pre-petition payments made by Debtor.

   4.     In addition to prepetition fees due, escrow deficiency for funds advanced & projected
   escrow shortage are unreasonable and not actually incurred.

           WHEREFORE, Debtors move this Honorable Court for an Order to reduce
   requested pre-petition arrears to the actual amount after proper credit is given to Debtor for
   all payments made and further Ordered that prepetition fees due, escrow deficiency for funds
   advanced & projected escrow shortage is reduced to reasonable amounts and/or amounts
   actually incurred.




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